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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:


 ____________________
          Southern    District of _________________
                                   New York
                                        (State)
 Case number (If known): _________________________ Chapter _____
                                                            11                                                                      Check if this is an
                                                                                                                                       amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                               Spirit Airlines, Inc.
                                              ______________________________________________________________________________________________________




 2.   All other names debtor used                 None.
                                              ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer                   3 8      1 7 4 7 0 2 3
                                              ___ ___ – ___ ___ ___ ___ ___ ___ ___
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                 Mailing address, if different from principal place
                                                                                                          of business
                                                  1731 Radiant Drive
                                              ______________________________________________              _______________________________________________
                                              Number     Street                                           Number     Street

                                              ______________________________________________              _______________________________________________
                                                                                                          P.O. Box

                                                  Dania Beach                 FL        33004
                                              ______________________________________________              _______________________________________________
                                              City                        State    ZIP Code               City                      State      ZIP Code


                                                                                                          Location of principal assets, if different from
                                                                                                          principal place of business
                                                   Broward
                                              ______________________________________________
                                              County                                                      _______________________________________________
                                                                                                          Number     Street

                                                                                                          _______________________________________________

                                                                                                           New York                 NY
                                                                                                          _______________________________________________
                                                                                                          City                      State      ZIP Code




 5.   Debtor’s website (URL)                      https://www.spirit.com/
                                              ____________________________________________________________________________________________________




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Debtor
              Spirit Airlines, Inc.
              _______________________________________________________                       Case number (if known)_____________________________________
              Name




 6.   Type of debtor                       Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                           Partnership (excluding LLP)
                                           Other. Specify: __________________________________________________________________

                                          A. Check one:
 7.   Describe debtor’s business
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                          B. Check all that apply:

                                           Tax-exempt entity (as described in 26 U.S.C. § 501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                           Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                              4 ___
                                             ___ 8 ___
                                                    1 ___
                                                       1

 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
      debtor filing?                       Chapter 7
                                           Chapter 9
                                           Chapter 11. Check all that apply:
      A debtor who is a “small business
      debtor” must check the first sub-                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                             aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                         affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                        recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                         income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                           11 U.S.C. § 1116(1)(B).
      check the second sub-box.                            The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                              Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                              statement of operations, cash-flow statement, and federal income tax return, or if
                                                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                           A plan is being filed with this petition.
                                                           Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                           The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                           The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                           Chapter 12




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Debtor
               Spirit Airlines, Inc.
               _______________________________________________________                         Case number (if known)_____________________________________
               Name



 9.   Were prior bankruptcy cases            No
      filed by or against the debtor
      within the last 8 years?               Yes. District _______________________ When _______________ Case number _________________________
                                                                                                MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                                  District _______________________ When _______________ Case number _________________________
                                                                                            MM / DD / YYYY

 10. Are any bankruptcy cases                No
      pending or being filed by a
      business partner or an                 Yes. Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                        District _____________________________________________ When               __________________
      List all cases. If more than 1,                                                                                           MM / DD / YYYY
      attach a separate list.                         Case number, if known ________________________________



 11. Why is the case filed in this          Check all that apply:
      district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                                immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                district.

                                             A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

 12. Does the debtor own or have             No
      possession of any real                 Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                           Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                      It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                         What is the hazard? _____________________________________________________________________

                                                      It needs to be physically secured or protected from the weather.
                                                      It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                         attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                         assets or other options).

                                                      Other _______________________________________________________________________________


                                                     Where is the property?_____________________________________________________________________
                                                                               Number          Street

                                                                               ____________________________________________________________________

                                                                               _______________________________________         _______ ________________
                                                                               City                                            State ZIP Code


                                                     Is the property insured?
                                                      No
                                                      Yes. Insurance agency ____________________________________________________________________
                                                              Contact name     ____________________________________________________________________

                                                              Phone            ________________________________




              Statistical and administrative information




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Debtor
             Spirit Airlines, Inc.
            _______________________________________________________                             Case number (if known)_____________________________________
            Name




 13. Debtor’s estimation of              Check one:
     available funds                      Funds will be available for distribution to unsecured creditors.
                                          After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                          1-49                               1,000-5,000                                25,001-50,000
 14. Estimated number of
                                          50-99                              5,001-10,000                               50,001-100,000
     creditors
                                          100-199                            10,001-25,000                              More than 100,000
                                          200-999

                                          $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
 15. Estimated assets
                                          $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                          $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion

                                          $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
 16. Estimated liabilities
                                          $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                          $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion


            Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17. Declaration and signature of           The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
     authorized representative of
                                             petition.
     debtor
                                            I have been authorized to file this petition on behalf of the debtor.

                                            I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                                         11/18/2024
                                             Executed on _________________
                                                         MM / DD / YYYY


                                          /s/ Fred Cromer
                                             _____________________________________________
                                                                                                          Fred Cromer
                                                                                                          _______________________________________________
                                             Signature of authorized representative of debtor             Printed name

                                                    Chief Financial Officer
                                             Title _________________________________________




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Debtor
            Spirit  Airlines, Inc.
            _______________________________________________________                     Case number (if known)_____________________________________
            Name




 18. Signature of attorney
                                       /s/ Marshall S. Huebner
                                          _____________________________________________            Date        11/18/2024
                                                                                                              _________________
                                          Signature of attorney for debtor                                    MM    / DD / YYYY



                                          Marshall S. Huebner
                                          _________________________________________________________________________________________________
                                          Printed name
                                           Davis Polk & Wardwell LLP
                                          _________________________________________________________________________________________________
                                          Firm name
                                          450 Lexington Avenue
                                          _________________________________________________________________________________________________
                                          Number     Street
                                           New York
                                          ____________________________________________________            NY
                                                                                                         ____________ 10017
                                                                                                                      ______________________________
                                          City                                                           State        ZIP Code

                                           (212) 450 4000
                                          ____________________________________                            marshall.huebner@davispolk.com
                                                                                                         __________________________________________
                                          Contact phone                                                  Email address



                                           2601094
                                          ______________________________________________________  NY
                                                                                                 ____________
                                          Bar number                                             State




 Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 5
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Official Form 201A (12/15)


UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:                                                                    Chapter 11

SPIRIT AIRLINES, INC.,                                                    Case No. 24-______ (___)

                      Debtor.

                      Attachment to Voluntary Petition for Non-Individuals Filing for
                                     Bankruptcy under Chapter 11
        1. If any of the debtor’s securities are registered under Section 12 of the Securities Exchange Act of 1934,
the SEC file number is 001-35186 .

        2. The following financial data is the latest available information and refers to the debtor’s condition on
9/30/2024            .
            a. Total assets                                                              $ 9,493,049,000

            b. Total debts (including debts listed in 2.c., below)                       $ 8,990,557,000
            c. Debt securities held by more than 500 holders

                                                                                                                        Approximate number
                                                                                                                        of holders:1
secured ☒            unsecured ☐     subordinated ☐                Senior Secured Notes2
secured ☐            unsecured ☒     subordinated ☐                2025 Convertible Notes
secured ☐            unsecured ☒     subordinated ☐                2026 Convertible Notes
secured ☒            unsecured ☐     subordinated ☐                Fixed-rate Class A 2015-1 EETC
                                                                   due through 2028
secured ☒            unsecured ☐     subordinated ☐                Fixed-rate Class AA 2017-1
                                                                   EETC due through 2030
secured ☒            unsecured ☐     subordinated ☐                Fixed-rate Class A 2017-1 EETC
                                                                   due through 2030
secured ☒            unsecured ☐     subordinated ☐                Fixed-rate Class B 2017-1 EETC
                                                                   due through 2026

            d. Number of shares of preferred stock                                                                      0
            e. Number of shares common stock                                                                            109,518,296

            Comments, if any:

         3. Brief description of debtor’s business: The debtor is a major air carrier that provides scheduled air
transportation for passengers in the United States and certain other jurisdictions.

         4. List the names of any person who directly or indirectly owns, controls, or holds, with power to vote, 5% or
more of the voting securities of debtor: U.S. Global Jets ETF; The Vanguard Group; BlackRock, Inc.


           1
            The Debtor does not know the precise number of holders for any debt securities issued by it or its
subsidiaries.
           2
               The Debtor is a guarantor with respect to the Senior Secured Notes which were issued by its subsidiaries.



Official Form 201A                     Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
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  UNITED STATES BANKRUPTCY COURT
  SOUTHERN DISTRICT OF NEW YORK

  In re:                                              Chapter 11

  SPIRIT AIRLINES, INC.,                              Case No. 24-______ (__)

                 Debtor.



                      CORPORATE OWNERSHIP STATEMENT

         Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy
  Procedure, and to enable the Judges to evaluate possible disqualification or recusal, the
  following are corporations, other than a governmental unit, that directly or indirectly own
  10% or more of any class of the Debtor’s equity interest:

                                                     Approximate
                            Shareholder
                                                  Percentage of Shares
                        U.S. Global Jets ETF            10.9633%
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Debtor __Spirit Airlines, Inc.________________________
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       Fill in this information to identify the case:
       Debtor name: Spirit Airlines, Inc.
       United States Bankruptcy Court for the: Southern District of New York
       Case number (If known): ______________                                                                                                                       Check if this is an amended
                                                                                                                                                                     filing

       Official Form 204
       Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 20 Largest Unsecured Claims and Are
       Not Insiders                                                                           12/15
       A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not include claims by any person or entity who is
       an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the
       holders of the 20 largest unsecured claims.




            Name of creditor and complete mailing                     Name, telephone number, and email            Nature of the claim (for Indicate if claim is Amount of unsecured claim
                address, including zip code                              address of creditor contact                example, trade debts,      contingent,       if the claim is fully unsecured, fill in only unsecured claim amount.
                                                                                                                        bank loans,          unliquidated, or If claim is partially secured, fill in total claim amount and deduction
                                                                                                                    professional services,       disputed        for value of collateral or setoff to calculate unsecured claim.
                                                                                                                      and government
                                                                                                                         contracts)
                                                                                                                                                                                           Deduction for value
                                                                                                                                                                      Total claim, if        of collateral or
                                                                                                                                                                    partially secured              setoff            Unsecured claim
       Wilmington Trust, National Association                     Jacqueline Solone
       1100 North Market Street                                   Vice President                                  1.000% Convertible
   1                                                                                                                                                                                                                       $500,000,000
       Wilmington, DE 19801                                       EMAIL - jacquelinesolone@wilmingtontrust.com    Unsecured Notes due 2026
                                                                  PHONE - (302) 651-1000

       U.S. Department Of The Treasury                            Janet Yellen
       1500 Pennsylvania Avenue                                   United States Secretary of the Treasury
   2                                                                                                              Unsecured Term Loan                                                                                      $136,000,000
       Washington, DC 20220                                       EMAIL - janet.yellen@treasury.gov
                                                                  PHONE - (800) 829-4933

       International Aero Engines                                 Kimberly Kinsley
       400 Main St East                                           President
   3                                                                                                              Trade Payable                Unliquidated                                                                $42,741,000*
       Hartford, CT 06108-0968                                    EMAIL - kimberly.kinsley@utc.com
                                                                  PHONE - 860-565-4321

       Wilmington Trust, National Association                     Jacqueline Solone
       1100 North Market Street                                   Vice President                                  4.750% Convertible
   4                                                                                                                                                                                                                        $25,100,000
       Wilmington, DE 19801                                       EMAIL - jacquelinesolone@wilmingtontrust.com    Unsecured Notes due 2025
                                                                  PHONE - (302) 651-1000

       Lufthansa Technik                                          Harald Gloy
       193 Weg Beim Jaeger                                        Chief Operating Officer & CHRO
   5                                                                                                              Trade Payable                Unliquidated                                                               $16,111,000 *
       Hamburg, 22335                                             EMAIL - harald.gloy@dlh.de
       Germany                                                    PHONE - +49 (40) 5070 3356

     AGI Ground, Inc
                                                                  Jared Azcuy
     9130 S Dadeland Blvd
                                                                  Chief Executive Officer
   6 Suite 1801                                                                                                   Trade Payable                Unliquidated                                                               $14,406,000 *
                                                                  EMAIL - jazcuy@atsstl.com
     Miami, FL 33156-7858
                                                                  PHONE - (305) 740-3253

       Charles Tombras Advertising, Inc                           Charles Tombras
       620 S Gay St                                               Chief Executive Officer
   7                                                                                                              Trade Payable                Unliquidated                                                               $10,205,000 *
       Knoxville, TN 37902-1603                                   EMAIL - charlie@tombras.com
                                                                  PHONE - (865) 524-5376

       Microsoft Licensing, Gp                                    Hossein Nowbar
       1 Microsoft Way                                            Chief Legal Officer
   8                                                                                                              Trade Payable                Unliquidated                                                                $8,139,000 *
       Redmond, WA 98052                                          EMAIL - hosseinn@microsoft.com
                                                                  PHONE - (206) 706-3732

     Gat Airline Ground Support
                                                                  Richard Thiel
     244 City Circle
                                                                  President
   9 Suite 2200A                                                                                                  Trade Payable                Unliquidated                                                                $7,242,000 *
                                                                  EMAIL - richard.thiel@gatags.com
     Peachtree City, GA 30269
                                                                  PHONE - (251) 633-3888

     Navitaire, Inc
                                                                  Dave Evans
     333 South 7th Street
                                                                  Chief Executive Officer
  10 Suite 1700                                                                                                   Trade Payable                Unliquidated                                                                $3,294,000 *
                                                                  EMAIL - dave.evans@navitaire.com
     Minneapolis, MN 55402
                                                                  PHONE - (612) 317-7000

     Ryan Inc.
     Three Galleria Tower                                         G. Brint Ryan
     13155 Noel Road                                              Chairman; Chief Executive Officer
  11                                                                                                              Trade Payable                Unliquidated                                                                $2,533,000 *
     Suite 100                                                    EMAIL - brint.ryan@ryan.com
     Dallas, TX 75240-5090                                        PHONE - 972.934.0022

     Prime Flight Aviation Services
                                                                  Dan Bucaro
     3 Sugar Creek Center Blvd
                                                                  Chief Executive Officer
  12 Suite 450                                                                                                    Trade Payable                Unliquidated                                                                $2,157,000 *
                                                                  EMAIL - dbucaro@primeflight.com
     Sugar Land, TX 77478-2216
                                                                  PHONE - (281) 942-6800




                                                                               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims
Official Form 204                                                                                 * Includes estimated accrued prepetition liabilities                                                                           page 1
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Debtor __Spirit Airlines, Inc.________________________
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            Name of creditor and complete mailing           Name, telephone number, and email            Nature of the claim (for Indicate if claim is Amount of unsecured claim
                address, including zip code                    address of creditor contact                example, trade debts,      contingent,       if the claim is fully unsecured, fill in only unsecured claim amount.
                                                                                                              bank loans,          unliquidated, or If claim is partially secured, fill in total claim amount and deduction
                                                                                                          professional services,       disputed        for value of collateral or setoff to calculate unsecured claim.
                                                                                                            and government
                                                                                                               contracts)
                                                                                                                                                                                 Deduction for value
                                                                                                                                                            Total claim, if        of collateral or
                                                                                                                                                          partially secured              setoff            Unsecured claim
     Broward County Aviation Department
                                                         John Bruno
     320 Terminal Dr.
                                                         Chief Information Officer
  13 Suite 200                                                                                          Trade Payable                                                                                              $2,018,000
                                                         EMAIL - jbruno@broward.org
     Fort Lauderdale, FL 33315
                                                         PHONE - (954) 359-6100

       Haeco Americas Airframe Services                  Richard Sell
       623 Radar Road                                    Chief Executive Officer
  14                                                                                                    Trade Payable                Unliquidated                                                                $2,000,000 *
       Greensboro, NC 27410-6221                         EMAIL - richard.sell@haeco.com
                                                         PHONE - (336) 668-4410

     TA Connections De & II, LLC
                                                         Mike Appleton
     3280 Peachtree Rd
                                                         President
  15 Suite 2400                                                                                         Trade Payable                Unliquidated                                                                $1,775,000 *
                                                         EMAIL - mike@hotelconnections.com
     Atlanta, GA 30305
                                                         PHONE - (866) 966-8866

     Worldwide Flight Services
                                                         Manfred Seah
     SATS Inflight Catering Centre 1
                                                         Chief Financial Officer
  16 20 Airport Boulevard                                                                               Trade Payable                Unliquidated                                                                $1,736,000 *
                                                         EMAIL - manfred_seah@sats.com.sg
     Singapore, 819659
                                                         PHONE - (656) 542-5555
     Singapore

       Swissport USA Inc                                 Warwick Brady
       Flughofstrasse 54                                 President; Chief Executive Officer
  17                                                                                                    Trade Payable                Unliquidated                                                                $1,689,000 *
       Opfikon, 8152                                     EMAIL - warwick.brady@swissport.com
       Switzerland                                       PHONE - +41 (10) 849-45-28


     Messier-Goodrich
                                                         Francois Bastin
     Inovel Parc Sud
                                                         Chief Executive Officer
  18 7 rue du Général Valérie André                                                                     Trade Payable                Unliquidated                                                                $1,523,000 *
                                                         EMAIL - francois.bastin@safrangroup.com
     Vélizy-Villacoublay, 78140
                                                         PHONE - +33 (1) 46 29 81 00
     France


       G2 Secure Staff, LLC                              Julie Gostic
       400 E Las Colinas Blvd                            President
  19                                                                                                    Trade Payable                Unliquidated                                                                $1,394,000 *
       Irving, TX 75039                                  EMAIL - jgostic@g2securestaff.com
                                                         PHONE - (972) 915-6979

       Perimeter Logistics Inc                           Rajan Sobhani
       2800 Story Road West                              President
  20                                                                                                    Trade Payable                Unliquidated                                                                $1,372,000 *
       Irving, TX 75038-5267                             EMAIL - raj.sobhani@shippgl.com
                                                         PHONE - (877) 701-1919




                                                                     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims
Official Form 204                                                                       * Includes estimated accrued prepetition liabilities                                                                           page 2
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                           Written Consent of the Board of Directors
                                    of Spirit Airlines, Inc.
                                     November 18, 2024

       The undersigned, being all of the directors (each, a “Director” and, collectively, the
“Directors”) of Spirit Airlines, Inc. (“the Company”), hereby authorize, take, approve, and
consent to the following actions, and adopt the following resolutions by written consent in
accordance with the applicable certificate of incorporation and bylaws of the Company, and the
applicable laws of the State of New York:

       WHEREAS, the Directors have reviewed and had the opportunity to ask questions about
the materials presented by the management and the legal and financial advisors of the Company
regarding the liabilities and liquidity of the Company, the strategic alternatives available, and the
impact of the foregoing on the Company’s businesses;

        WHEREAS, the Directors have had the opportunity to consult with the management and
the legal and financial advisors of the Company to fully consider each of the strategic alternatives
available to the Company;

        WHEREAS, the Directors have considered presentations by management and the
financial and legal advisors of each of the Company regarding a restructuring support agreement
in form and substance substantially as proposed (together with the exhibits thereto, the
“Restructuring Support Agreement”);

        WHEREAS, the Company has negotiated the Restructuring Support Agreement in good
faith and at arm’s-length with the Consenting Senior Secured Noteholders and Consenting
Convertible Noteholders (as defined in the Restructuring Support Agreement);

       WHEREAS, the Restructuring Support Agreement provides that it can be terminated by
the Company, at the direction of the Directors, if continued performance thereunder would be
inconsistent with the exercise of such Directors’ fiduciary duties or applicable law;

       WHEREAS, the Directors have reviewed and considered presentations by management
and the financial and legal advisors of each of the Company regarding the advantages and
disadvantages of the Company soliciting acceptances of the chapter 11 plan of reorganization
contemplated in and attached to the Restructuring Support Agreement (as may be amended,
modified, or supplemented from time to time, the “Plan”);

       WHEREAS, the Directors, in connection with the Restructuring Support Agreement, have
considered presentations by management and the financial and legal advisors of the Company
regarding the launch of an equity rights offering (the “Equity Rights Offering”) in form and
substance substantially as proposed (the “Equity Rights Offering Documents”);

       WHEREAS, the Directors, in connection with the Restructuring Support Agreement, have
considered presentations by management and the financial and legal advisors of the Company
regarding a backstop commitment agreement in form and substance substantially as proposed
(the “Backstop Commitment Agreement”);
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       WHEREAS, the Directors have received, reviewed, and considered the recommendations
of, and the materials presented by, the management and the legal and financial advisors of the
Company regarding the relative risks and benefits of pursuing a case under the provisions of
chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”);

      WHEREAS, the Directors have determined that it is desirable and in the best interests of
the Company to commence Chapter 11 Case (as defined below);

       WHEREAS, the Directors have reviewed with the management and the legal and financial
advisors of the Company the resolutions set forth below; and

        WHEREAS, the Directors (i) have determined that taking the actions set forth below and
the transactions contemplated hereby are advisable and fair to, and in the best interests of, the
Company and its stakeholders and, therefore, have (ii) adopted the resolutions set forth below and
authorized and approved the transactions, agreements, and actions contemplated hereby:

 I.     Commencement of Chapter 11 Case

        RESOLVED, that the Directors have determined, after due consultation with the
management and the legal and financial advisors of the Company, that it is desirable and in the
best interests of the Company and its stakeholders that the Company shall be, and hereby is,
authorized to file, or cause to be filed, a petition seeking relief (the “Chapter 11 Case”) under the
provisions of chapter 11 of the Bankruptcy Code, and any other petition for relief or recognition
or other order that may be desirable under applicable law in the United States;

        RESOLVED, FURTHER, that each officer, director, or manager of the Company (each,
an “Authorized Person”), is authorized, empowered, and directed to (a) execute and file in the
name and on behalf of the Company, and under its corporate seal or otherwise, all plans, petitions,
schedules, statements, motions, lists, applications, pleadings, orders, and other documents in the
United States Bankruptcy Court for the Southern District of New York (the “Bankruptcy Court”),
(b) employ and retain all assistance by legal counsel, accountants, financial advisors, investment
bankers, and other professionals, and (c) take and perform any and all further acts and deeds that
such Authorized Person, who may act without the joinder of any other Authorized Person, deems
necessary, proper, or desirable in connection with the Chapter 11 Case, including (i) negotiating,
executing, delivering, and performing under any and all documents, agreements, certificates, and
instruments in connection with the transactions and professional retentions set forth in this
resolution, (ii) appearing as necessary at all bankruptcy proceedings in the Bankruptcy Court on
behalf of the Company, and (iii) paying all such expenses where necessary or appropriate in order
to carry out fully the intent, and accomplish the purposes, of the resolutions adopted herein; and

        RESOLVED, FURTHER, that the Company is authorized, and each Authorized Person
shall be, and hereby is, authorized, empowered, and directed on behalf of and in the name of the
Company, to seek to have its Chapter 11 Case administered by the Bankruptcy Court under chapter
11 of the Bankruptcy Code.




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 II.    Retention of Advisors

       RESOLVED, that each Authorized Person shall be, and hereby is, authorized, empowered,
and directed on behalf of and in the name of the Company to retain the law firm of Davis Polk &
Wardwell LLP, located at 450 Lexington Avenue, New York, NY 10017, as counsel for the
Company in the Chapter 11 Case, subject to Bankruptcy Court approval;

        RESOLVED, FURTHER, that each Authorized Person shall be, and hereby is, authorized,
empowered, and directed on behalf of and in the name of the Company to retain Alvarez & Marsal
North America, LLC, located at 540 West Madison Street, Suite 1800, Chicago, IL 60661, as
financial and compensation advisor for the Company in the Chapter 11 Case, subject to Bankruptcy
Court approval;

       RESOLVED, FURTHER, that each Authorized Person shall be, and hereby is, authorized,
empowered, and directed on behalf of and in the name of the Company to retain Perella Weinberg
Partners, located at 757 Fifth Avenue, New York, NY 10153, as investment banker for the
Company in the Chapter 11 Case, subject to Bankruptcy Court approval;

       RESOLVED, FURTHER, that each Authorized Person shall be, and hereby is, authorized,
empowered, and directed on behalf of and in the name of the Company to retain Debevoise &
Plimpton LLP, located at 66 Hudson Boulevard, New York, NY 10001, as fleet counsel for the
Company in the Chapter 11 Case, subject to Bankruptcy Court approval;

      RESOLVED, FURTHER, that each Authorized Person shall be, and hereby is, authorized,
empowered, and directed on behalf of and in the name of the Company to retain the law firm of
Walkers Cayman Islands as Cayman counsel for the Company in the Chapter 11 Case, subject to
Bankruptcy Court approval;

       RESOLVED, FURTHER, that each Authorized Person shall be, and hereby is, authorized,
empowered, and directed on behalf of and in the name of the Company to retain O’Melveny &
Myers LLP, located at 1201 Avenue of the Americas, Suite 1700, New York, NY 10019, as labor
counsel for the Company in the Chapter 11 Case, subject to Bankruptcy Court approval;

       RESOLVED, FURTHER, that each Authorized Person shall be, and hereby is, authorized,
empowered, and directed on behalf of and in the name of the Company to retain Morris, Nichols,
Arsht & Tunnell LLP, located at 1201 North Market Street, 16th Floor, Wilmington, DE 19801,
as conflicts counsel for the Company in the Chapter 11 Case, subject to Bankruptcy Court
approval;

       RESOLVED, FURTHER, that each Authorized Person shall be, and hereby is, authorized,
empowered, and directed on behalf of and in the name of the Company to retain Epiq Corporate
Restructuring, LLC, as claims, noticing, solicitation, and administrative agent for the Company in
the Chapter 11 Case, subject to Bankruptcy Court approval; and

       RESOLVED, FURTHER, that each Authorized Person shall be, and hereby is, authorized,
empowered, and directed on behalf of and in the name of the Company to retain any other legal
counsel, accountants, financial advisor, restructuring advisor, or other professionals as the
Authorized Person deems necessary, appropriate, or advisable, to represent and assist the Company
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in carrying out its respective duties and responsibilities and exercising its respective rights under
the Bankruptcy Code.

 III.    DIP Credit Agreement and Use of Cash Collateral

        RESOLVED, that the Directors have determined, after due consultation with the
management and the legal and financial advisors of the Company, that it is desirable and in the
best interests of the Company and its stakeholders to (a) enter into a senior secured superpriority
debtor-in-possession term loan credit agreement (together with all exhibits, schedules, and annexes
thereto, as altered, amended, supplemented, or otherwise modified from time to time, the “DIP
Credit Agreement”) and any other documentation relating to the DIP Credit Agreement
(including, without limitation, pledge agreements, guarantee agreements, security agreements,
intercreditor agreements, control agreements, promissory notes, mortgages, intellectual property
security agreements, financing statements, swap agreements, collateral access agreements,
acknowledgment letters, payoff letters, fee letters, termination agreements, intellectual property
release agreements, control agreement terminations, and other documents under which a security
interest in the assets of the Company is being created), and each other agreement, document, or
instrument required thereunder, including any amendments thereto, collectively and together with
the DIP Credit Agreement in the form and upon the terms and conditions as an Authorized Person
may approve (such approval to be conclusively established by such Authorized Person’s execution
and delivery thereof) (collectively, the “DIP Documents”), (b) perform the Company’s
obligations under the DIP Documents, including payment of the fees and expenses related thereto,
and take all actions in accordance therewith that any of the Authorized Persons may deem
necessary or advisable to consummate the transactions contemplated thereby and (c) obtain the
benefits from the use of cash collateral (as such term is defined in section 363(a) of the Bankruptcy
Code, the “Cash Collateral”), which is security for the Company’s prepetition secured lenders
under certain credit facilities by and among the Company and the lenders party thereto;

        RESOLVED, FURTHER, that the Company is hereby authorized, and each Authorized
Person shall be and hereby is authorized, empowered, and directed on behalf of and in the name
of the Company, together with the Company’s advisors, to (a) seek interim and final approval of
the DIP Documents and the use of Cash Collateral from the Bankruptcy Court pursuant to an order
of the Bankruptcy Court substantially on the terms presented to the Directors (the “DIP Order”)
and (b) take all actions (including negotiating and executing any agreements, documents, or
certificates) necessary or advisable to implement the DIP Order, including (i) paying any fees and
expenses related thereto, (ii) guarantying the obligations of the DIP loan parties under the DIP
Documents, (iii) providing for adequate protection to the certain of the Company’s prepetition
secured lenders in accordance with section 363 of the Bankruptcy Code, (iv) granting superpriority
status, first priority priming liens, and perfected security interests in, and pledging, mortgaging,
and granting deeds of trust with respect to, its right, title, and interest in and to its properties and
assets, whether now owned or hereafter acquired, to the extent required to secure the obligations
of the DIP loan parties under the DIP Documents, with such changes therein and additions thereto
as any Authorized Person executing the same may, in their absolute discretion, deem necessary or
appropriate, the execution of the DIP Documents to be conclusive evidence of the approval thereof,
(v) executing and delivering any additional or further agreements, instruments, or documents for
the use of Cash Collateral in connection with the Chapter 11 Case, which agreement(s) may require
the Company to grant adequate protection and security interests to certain of the Company’s
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prepetition secured lenders, with such changes therein and additions thereto as any Authorized
Person executing the same may in their absolute discretion deem necessary or appropriate, the
taking of such action or the execution and delivery thereof to be conclusive evidence of the
approval thereof, and (vi) consummating the transactions contemplated by the foregoing,
including incurring the obligations stated in connection therewith; and

        RESOLVED, FURTHER, that the Company is authorized, and each Authorized Person
shall be and hereby is authorized, empowered, and directed on behalf of and in the name of the
Company, to (a) negotiate and agree to any changes to the DIP Order and DIP Documents as they
believe is appropriate and necessary under the circumstances in their reasonable judgment,
(b) execute and deliver any amendments, modifications, renewals, replacements, consolidations,
substitutions, and extensions of the DIP Credit Agreement (including amendments increasing the
amount of credit available under the DIP Credit Agreement and/or extending the maturity of the
same) and the DIP Documents, (c) cause the Company to enter into, execute, deliver, certify, file
and/or record, and perform under the DIP Documents and such other documents, agreements,
instruments, and certificates as may be required by the DIP Order or the DIP Documents,
(d) consummate the transactions contemplated by the DIP Documents, and (e) do such other things
that shall, in their absolute discretion, be necessary, desirable, proper, or advisable to give effect
to the foregoing resolutions, which determination shall be conclusively evidenced by their
execution thereof.

IV.     Restructuring Support Agreement and the Chapter 11 Plan

        RESOLVED, that the Directors have determined, after due consultation with the
management and the legal and financial advisors of the Company, that it is desirable and in the
best interests of the Company and its stakeholders to enter into the Restructuring Support
Agreement and to pursue the Plan, as attached thereto, pursuant to sections 1125(g) and 1126(b)
of the Bankruptcy Code and rule 3018(b) of the Federal Rules of Bankruptcy Procedure, and that
the Company’s performance of its obligations under the Restructuring Support Agreement and
the solicitation of votes in favor of the Plan be and hereby is, in all respects, authorized and
approved;

        RESOLVED FURTHER, that the Company is hereby authorized, and each Authorized
Person shall be, and hereby is, authorized, empowered and directed on behalf of and in the name
of the Company, together with the Company’s advisors, to take all actions (including, without
limitation, to negotiate and execute any agreements, documents, or certificates) necessary to enter
into the Restructuring Support Agreement and to consummate the transactions contemplated
thereby in connection with the Chapter 11 Case, and that the Company’s performance of its
obligations under the Restructuring Support Agreement hereby is, in all respects, authorized and
approved;

         RESOLVED FURTHER, that the Directors have determined, after due consultation with
the management and the legal and financial advisors of the Company, that it is desirable and in
the best interests of the Company and its stakeholders that the Authorized Persons file or cause
to be filed the Plan, the related disclosure statement, and all other papers or documents (including
any amendments) related thereto and to take any and all actions that they deem necessary or


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appropriate to pursue confirmation and consummation of a plan of reorganization materially
consistent with the Plan;

       RESOLVED FURTHER, that the Company is hereby authorized, and each Authorized
Person shall be, and hereby is, authorized, empowered and directed on behalf of and in the name
of the Company, together with the Company’s advisors, to file all other documents deemed
necessary to confirm a plan of reorganization materially consistent with the Plan, including, but
not limited to, any amendments to and modifications of the Plan; and

        RESOLVED FURTHER, that each Authorized Person shall be, and hereby is, authorized,
empowered and directed on behalf of and in the name of the Company, together with the
Company’s advisors, to take or cause to be taken any and all such other and further action, and
to execute, acknowledge, deliver, and file any and all such instruments as each, in his or her
discretion, may deem necessary or advisable in order to consummate the Plan if confirmed by the
Bankruptcy Court.

V.      Equity Rights Offering

        RESOLVED, that the Directors have determined, after due consultation with the
management and the legal and financial advisors of the Company, that it is desirable and in the
best interests of the Company and its stakeholders to enter into the Equity Rights Offering
Documents;

        RESOLVED FURTHER, that the Company is hereby authorized, and each Authorized
Person shall be, and hereby is, authorized, empowered and directed on behalf of and in the name
of the Company, together with the Company’s advisors, to take all actions (including, without
limitation, to negotiate and execute any agreements, documents, or certificates) necessary to enter
into the Equity Rights Offering Documents and to consummate the transactions contemplated
thereby, with such changes therein and additions thereto as any Authorized Person executing the
same may in his or her discretion deem necessary or appropriate, the execution of the Equity
Rights Offering Documents to be conclusive evidence of the approval thereof; and

        RESOLVED FURTHER, that each Authorized Person shall be, and hereby is, authorized,
empowered and directed on behalf of and in the name of the Company, to cause the Company to
enter into, execute, deliver, certify, file and/or record, and perform, the Equity Rights Offering
Documents and such other documents, agreements, instruments and certificates as may be
required by the Equity Rights Offering Documents.

VI.     Backstop Commitment Agreement

        RESOLVED, that the Directors have determined, after due consultation with the
management and the legal and financial advisors of the Company, that it is desirable and in the
best interests of the Company and its stakeholders to enter into the Backstop Commitment
Agreement;

       RESOLVED FURTHER, that the Company is hereby authorized, and each Authorized
Person shall be, and hereby is, authorized, empowered and directed on behalf of and in the name
of the Company, together with the Company’s advisors, to take all actions (including, without
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limitation, to negotiate and execute any agreements, documents, or certificates) necessary to enter
into the Backstop Commitment Agreement and to consummate the transactions contemplated
thereby, with such changes therein and additions thereto as any Authorized Person executing the
same may in his or her discretion deem necessary or appropriate, the execution of the Backstop
Commitment Agreement to be conclusive evidence of the approval thereof; and

        RESOLVED FURTHER, that each Authorized Person shall be, and hereby is, authorized,
empowered and directed on behalf of and in the name of the Company, to cause the Company to
enter into, execute, deliver, certify, file and/or record, and perform, the Backstop Commitment
Agreement and such other documents, agreements, instruments and certificates as may be
required by the Backstop Commitment Agreement.

 VII.   General Authorization and Ratification

        RESOLVED, that each Authorized Person shall be, and hereby is, authorized, empowered,
and directed, on behalf of and in the name of the Company, to (a) do and perform all such acts and
things and enter into, execute, acknowledge, deliver, and file all such certificates, agreements,
acknowledgments, instruments, contracts, statements, and other documents and to take such
further actions as such Authorized Person may deem necessary or appropriate to effect the intent
and accomplish the purposes of the foregoing resolutions, the taking of such action or the execution
and delivery thereof to be conclusive evidence of the approval thereof, (b) perform the Company’s
obligations under the Bankruptcy Code and exercise all rights of the Company under the
Bankruptcy Code (including all rights with respect to contracts, agreements, and leases under
sections 365 of the Bankruptcy Code), with all such actions to be performed in such manner, and
all such certificates, instruments, guaranties, notices, and documents to be executed and delivered
in such form, as the Authorized Person performing or executing the same shall approve, the
performance or execution thereof to be conclusive evidence of the approval thereof by such
Authorized Person and the Company, and (c) pay fees and expenses in connection with the
transactions contemplated by the foregoing resolutions;
       RESOLVED, FURTHER, that the omission from this written consent of any (a) agreement,
document, or other arrangement contemplated by any of the agreements, documents, or
instruments described in the foregoing resolutions or (b) action to be taken in accordance with any
requirement of any of the agreements or instruments described in the foregoing resolutions shall
in no manner derogate from the authority of the Authorized Persons to take all actions necessary,
desirable, advisable, or appropriate to consummate, effectuate, carry out, or further the transactions
contemplated by, and the intent and purposes of, the foregoing resolutions;

       RESOLVED, FURTHER, that the Directors have received sufficient notice of the actions
and transactions relating to the matters contemplated by the foregoing resolutions, as may be
required by the organizational documents of the Company, or hereby waive any right to have
received such notice;

        RESOLVED, FURTHER, that any and all actions taken by any officer or director of or
advisor to the Company prior to the date of adoption of the foregoing resolutions, which would
have been authorized by the foregoing resolutions but for the fact that such actions were taken
prior to such date, be, and each hereby is, ratified, approved, confirmed, and adopted as a duly
authorized act of the Company in all respects and for all purposes; and
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       RESOLVED, FURTHER, that this consent may be executed in one or more counterparts,
and delivered by electronic means, each of which, when so executed, shall be treated in all manner
and respects and for all purposes as one and the same original, written consent, and shall be
considered to have the same binding legal effect as if it were an original manually signed
counterpart hereof delivered in person.

                                    [Signature Pages Follow]




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    IN WITNESS WHEREOF, the undersigned, constituting the board of directors of Spirit
    Airlines, Inc. has caused this written consent to be executed as of the date first set forth
    above.


         ___________________________
         Name: Edward Christie III
         Title:  Director


         ___________________________
         Name: Mark B. Dunkerley
         Title:  Director


         ___________________________
         Name: H. McIntyre Gardner
         Title:  Chair, Director


         ___________________________
         Name: Robert D. Johnson
         Title:  Director


         ___________________________
         Name: Barclay G. Jones III
         Title:  Director


         ___________________________
         Name: Christine P. Richards
         Title:  Director


         ___________________________
         Name: Myrna M. Soto
         Title:  Director


         ___________________________
          Name: Richard Wallman
          Title: Director




                        [Signature page to Chapter 11 Board Resolutions]



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 Fill in this information to identify the case and this filing:


                     Spirit Airlines, Inc.
 Debtor Name __________________________________________________________________

                                                                           New York
                                                     Southern District of __________
 United States Bankruptcy Court for the: ______________________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


          Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
          Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
          Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
          Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
          Schedule H: Codebtors (Official Form 206H)
          Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
          Amended Schedule ____

          Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                                                        Corporate Ownership Statement
          Other document that requires a declaration__________________________________________________________________________________



        I declare under penalty of perjury that the foregoing is true and correct.


                     11/18/2024
        Executed on ______________                          /s/ Fred Cromer
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                 Fred Cromer
                                                                ________________________________________________________________________
                                                                Printed name

                                                                 Chief Financial Officer
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
